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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

    UNILOC 2017 LLC                       §
                                          §
                      Plaintiff,          §
                                          §
               v.                         §   Civil Case No. 2:18-cv-491
                                          §
    GOOGLE LLC,                           §     REDACTED
                                          §
                      Defendant.          §
                                          §


          DEFENDANT GOOGLE LLC’S RENEWED MOTION TO DISMISS FOR
                  LACK OF STANDING AND IMPROPER VENUE
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   I.     INTRODUCTION

          Pursuant to Federal Rules of Civil Procedure 12(b)(1), (b)(3), and (b)(6), Defendant Google

   LLC (“Google”) is moving to dismiss complaints filed by Uniloc 2017 LLC (“Uniloc 2017”) on

   November 17, 2018 (the “November Complaints”)1 for lack of standing and improper venue.

          First, Uniloc 2017 lacks Article III standing because




                                     . See Morrow v. Microsoft Corp., 499 F.3d 1332, 1338 (Fed. Cir.

   2007) (holding that a plaintiff for patent infringement lacks standing if it does not have the right

   to exclude the defendant from practicing the patents). Uniloc 2017 acquired the patents-in-suit

                                          . Further, Uniloc 2017 lacks standing under 35 U.S.C. § 281,

   because Uniloc 2017 does not have “all substantial rights” in order to sue.




          The division of patent rights here goes far beyond the typical case.




   1
     The parties conducted discovery on standing and venue issues after initially briefing the issues
   addressed in this motion. The facts relating to each of the main bases of this motion, lack of
   standing and improper venue, are sufficiently similar that an identical motion is being filed
   across Uniloc’s cases filed in late December 2018 (the 548-554 cases). Google is filing motions
   addressed to different factual circumstances in Uniloc’s cases filed in November 2018 (the 491-
   504 cases), with the only substantive variation among the motions in the November 2018 cases
   being particular arguments as to Uniloc’s failure to allege acts infringement in the District in the
   491, 492, 495, 497, 500, 503, and 504 cases.


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                                         This is exactly the kind of scheme that Morrow suggests could

   deprive all entities of standing.

             Second, Google respectfully submits that venue is not proper in this district. Under TC

   Heartland, venue in a patent case is only proper (1) where the defendant resides, or (2) in a district

   in which the defendant has a regular and established place of business and has committed acts of

   infringement. Google has never resided in this District. Nor does Google have any place of

   “business” in this District, much less one that qualifies as “regular and established” under the

   standards set forth in In re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017).

             Uniloc alleges that the presence in the District of several Google Global Cache edge servers

   (“GGC servers”) is sufficient to establish that venue in this District is proper. The GGC servers sat

   in racks in third-party facilities and only received requests and relayed static content; they are not

   offices, nor does Google have any offices or Google employees at offices in the District. As a

   result, under Cray, the presence of the GGC servers is not sufficient to make venue proper. See

   CUPP Cybersecurity LLC v. Symantec Corp., C.A. No. 3:18-CV-01554-M, 2019 WL 1070869

   (N.D. Tex. Jan. 16, 2019); Personal Audio, LLC v. Google, Inc., 280 F. Supp. 3d 922 (E.D. Tex.

   2017); Declaration of Douglas L. Clark, Ex. A (BMC Software, Inc. v. Cherwell Software, LLC,

   No. 1:17-cv-1074, Dkt. 55 (E.D. Va. Dec. 21, 2017)).2

             Google recognizes that the Court has determined that the presence of GGC servers serving

   content to users was sufficient to establish venue. SEVEN Networks, LLC v. Google LLC, 315 F.

   Supp. 3d 933, 941 n.7 (E.D. Tex. 2017); Super Interconnect Technologies LLC v. Google LLC,



   2
       All exhibits are attached to the concurrently-filed Clark Declaration unless otherwise noted.


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   No. 2:18-CV-00463-JRG, 2019 WL 3717683, at *2 (E.D. Tex. Aug 7, 2019). Google respectfully

   submits that the Court’s previous rulings are inconsistent with the Federal Circuit’s guidance in

   Cray and with the majority rule that has developed following the decision in that case.

          Finally, Uniloc 2017’s other venue allegations are even more attenuated: references to

   remotely administered Google services; relationships with third-parties in the District; scattered

   equipment that may be in the District; and contacts outside the District and relevant time period.

   Nothing in Uniloc 2017’s allegations satisfies the Federal Circuit’s standard in Cray.

   II.    STATEMENT OF ISSUES TO BE DECIDED (L.R. CV-7(A)(1))

          1.      Should this case be dismissed under Federal Rule of Civil Procedure 12(b)(1)

   and/or 12(b)(6) because the plaintiff lacks standing to sue?

          2.      Should this case be dismissed under Federal Rule of Civil Procedure 12(b)(3) for

   improper venue over Google in this District?

   III.   FACTUAL BACKGROUND

          A.      The Parties

          While Google’s products and services are accessible across the United States, it neither

   resides nor has a place of business in the Eastern District of Texas. Google is an LLC organized in

   Delaware. Ex. B, ¶ 5. Its headquarters and principal place of business is in the Northern District of

   California. Id. ¶ 4. Google does not own or lease “any office space, retail space, or other real

   property in the Eastern District of Texas.” Ex. C, ¶ 3. Google has neither offices nor employees at

   offices in this District. Ex. B, ¶ 8. Nor does Google possess or control any other physical place of

   business in this District, including where GGC servers have been located, or hold itself out as

   doing so.

          Uniloc 2017 LLC is a Delaware limited liability company. 2:18-cv-00491 Compl. ¶ 1.

   Various permutations of Uniloc entities (including Uniloc 2017, Uniloc USA, and Uniloc


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   Licensing USA LLC) have sued telecommunications and mobile device companies for patent

   infringement across the country, and have previously filed and dismissed several other complaints

   against Google in this District. Meanwhile,



          B.      Google’s Motion to Dismiss

         This Motion concerns 13 actions Uniloc filed on November 17, 2018, alleging that

   YouTube and Google’s Hangouts, Meet, devices, and Spectrum Access System infringe various.

   See, e.g., 2:18-cv-00491 Compl. ¶ 83; 2:18-cv-00492 Compl. ¶ 83; 2:18-cv-00493 Compl. ¶ 83;

   2:18-cv-00494 Compl. ¶ 83; 2:18-cv-00495 Compl. ¶ 83. The complaints assert the same venue

   allegations, regardless of the patent or technology accused.

         In April 2019, Google filed motions to dismiss for lack of standing and improper venue.

   The Court subsequently entered a scheduling order to govern additional discovery and briefing

   on the issues raised in Google’s motion. A modified scheduling order followed, setting forth

   deadlines by which Google would file a new or amended motion to dismiss based on Uniloc’s

   standing and improper venue. This is the contemplated renewed motion.

   IV.    UNILOC LACKS STANDING TO SUE

          A.      Uniloc 2017 Lacks the Exclusionary Rights Required for Standing

          The plaintiff bears the burden of establishing that it has Article III standing. Lujan v.

   Defenders of Wildlife, 504 U.S. 555, 561 (1992). “A party has standing only if he shows that he

   has suffered an ‘injury in fact’ . . . .” Wittman v. Personhuballah, 136 S. Ct. 1732, 1736 (2016)

   (“The need to satisfy [this] requirement[] persists throughout the life of the lawsuit.”) (citations

   omitted). Article III standing requires that a plaintiff have suffered an injury-in-fact from a

   violation of its exclusionary rights in the patent. Morrow, 499 F.3d at 1340–41 (Fed. Cir. 2007).

          Article III standing in a patent case requires that the plaintiff have the “exclusive” right to


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                                                                                                    See,

   e.g., In re Provider Meds, L.L.C., 907 F.3d 845, 856 (5th Cir. 2018) (explaining that the term

   “irrevocable . . . indicates that the license may not be revoked for any reason”);Cafferty v. Scotti

   Bros. Records, Inc., 969 F. Supp. 193, 198–199 (S.D.N.Y. 1997) (holding under New York law

   that an “irrevocabl[e]” license survived the occurrence of events that a subsequent agreement

   stated would terminate the license).

                                                                                                 Uniloc

   2017 lacks the absolute right to exclude Google from practicing the patents-in-suit. Without that

   right, Uniloc 2017 lacks constitutional standing to sue. See Luminara Worldwide, LLC v. Liown

   Elecs. Co., 814 F.3d 1343, 1348 (Fed. Cir. 2016) (“If [the patentee] could . . . license any entity .

   . . [the licensee] would not have had exclusionary rights to the asserted patents.”); Acceleration

   Bay LLC v. Activision Blizzard, Inc., No. CV 16-453-RGA, 2017 WL 3668597, at *3 (D. Del.

   Aug. 24, 2017) (third party’s ability to license accused infringers deprived plaintiff of standing).



          In analyzing whether a third party’s licensing rights defeat standing, the dispositive issue

   is whether the right extends to licensing the accused infringer. Luminara, 814 F.3d at 1348; WiAV,

   631 F.3d at 1267. Although the court found standing in Luminara and WiAV, it did so because the




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                                                                                       undefined terms

   are given their plain meaning. Bank of New York Mellon Trust Co., Nat. Ass’n v. Solstice ABS CBO

   II, Ltd., 910 F. Supp. 2d 629, 648-49 (S.D.N.Y. 2012); In re Taddeo, 685 F.2d 24, 26-27 (2d Cir.

   1982); see also Bank of New York Mellon, 910 F. Supp. 2d at 649 (“Curing a default commonly

   means taking care of the triggering event and returning to pre-default conditions.”).




                                                                                                  Bank

   of New York Mellon, 910 F. Supp. 2d at 649 (“waiver” and “cure” presumed to differ).




                                          Bakalis v. Bakalis, 88 N.Y.S.3d 899, 900 (N.Y. App. Div.

   2018) (“[T]he defendant . . . cured his default in payment . . . by making the required payment . . .

   on the cure date fixed by the plaintiff.”).




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                             Metro. Life Ins. Co. v. RJR Nabisco, Inc., 906 F.2d 884, 890 (2d Cir.

   1990) (court cannot modify the “right to cure that was bargained for”).




          In response to Google’s previous motion to dismiss,




          B.      Uniloc 2017 Does Not Hold All Substantial Rights in the Patents-in-Suit

          Uniloc 2017 also lacks standing under 35 U.S.C. § 281, which requires that a plaintiff hold

   “all substantial rights” to the patents-in-suit. See Lone Star Silicon Innovations LLC v. Nanya Tech.

   Corp., 925 F.3d 1225, 1229 (Fed. Cir. 2019). After acquiring the patents-in-suit, Uniloc 2017


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   This is another ground for dismissal.



          Upon acquiring the patents-in-suit, Uniloc 2017 immediately




                                     The right to sue is “frequently” considered “the most important

   consideration” in the standing analysis. Alfred E. Mann Found. For Sci. Research v. Cochlear




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   Corp., 604 F.3d 1354, 1361 (Fed. Cir. 2010). As the Federal Circuit warned in Morrow, “[w]hile

   parties are free to assign some or all patent rights as they see fit based on their interests and

   objectives, this does not mean that the chosen method of division will satisfy standing

   requirements.” 499 F.3d at 1341 n.8. Several district courts have applied Morrow in holding that

   when an entity with exclusionary rights in a patent relinquishes its right to sue, it lacks standing.

   In Fairchild Semiconductor Corp. v. Power Integrations, Inc., for example, the patent owner

   (Intersil) had granted a licensee (Fairchild) “the sole and exclusive right” to sue the accused

   infringer (Power Integrations) on the patents-in-suit. 630 F. Supp. 2d 365, 371 (D. Del. 2007). The

   court held that the patent owner had contracted away its right to sue and lacked standing:

          As for Intersil, the Court likewise concludes that Intersil lacks standing to maintain
          this action against Power Integrations. Intersil contracted away its right to sue
          Power Integrations to Fairchild. That Fairchild lacks standing to take advantage of
          that right does not mean that Intersil regains it. Indeed, the Federal Circuit
          recognized in Morrow . . . that the contractual division of patent rights may have
          the effect of defeating standing as to all relevant parties.

   Id. at 372, 73. The court further concluded that, because the patent owner had no right to sue and

   the licensee had no Article III standing, the patent owner could not be added in order to cure the

   standing problem—and dismissed the action. Id. at 373. The reasoning in Fairchild applies here.



                                   . See Fairchild, 630 F. Supp. 2d at 373.




          The court in Enviro Noise Control Corp. v. Stealth Acoustical & Emission Control Corp.

   reached a similar conclusion on similar facts. No. 07-CV-02555-EWN-KLM, 2008 WL 11363360

   (D. Colo. July 9, 2008). There, the licensee possessed exclusionary rights in the patents-in-suit,

   but the patent owner possessed the exclusive right to sue and recover damages. Id. at *7. The court



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   of business.” 28 U.S.C. § 1400(b). “[T]he Plaintiff bears the burden of establishing proper venue.”

   In re ZTE (USA) Inc., 890 F.3d 1008, 1013 (Fed. Cir. 2018). Uniloc 2017 acknowledges that

   Google is organized in Delaware with a principal place of business in Mountain View, California.

   2:18-cv-00491 Compl. ¶ 4. Therefore, under TC Heartland LLC v. Kraft Foods Group Brands

   LLC, 137 S. Ct. 1514, 1521 (2017), Google does not reside in this District for purposes of the

   patent venue statute. Moreover, as explained below, Uniloc 2017 cannot meet its burden to

   establish venue is proper under the “regular and established place of business” prong of the statute.

          A.      Google Has No “Regular and Established Place of Business” Here.

          In Cray, the Federal Circuit explained that for a defendant to have a regular and established

   place of business in a district: “(1) there must be a physical place in the district; (2) it must be a

   regular and established place of business; and (3) it must be the place of the defendant.” 871 F.3d

   at 1360. All three requirements must be met to establish venue. Id. at 1362-63. None of Uniloc

   2017’s venue allegations meet these three requirements.

                  1.      GGC Servers Hosted by Third-Party ISPs Are Not a “Regular and
                          Established Place of Business” in this District.

          Google acknowledges that the Court is not writing on a blank slate when it comes to GGC

   servers, which form the backbone of Uniloc 2017’s venue allegations. Compl. ¶¶ 20-34.5 In

   Personal Audio, Judge Clark held that Google’s GGC servers serving content to users did not

   create a “regular and established place of business” under Cray. 280 F. Supp. 3d at 925, 932-35.

   The SEVEN decision acknowledges that it contradicts Personal Audio on the same basic facts. 315

   F. Supp. 3d at 950.6 And after a divided Federal Circuit panel declined mandamus review of



   5
    Unless otherwise indicated, citations to Compl. in this brief refer to case 2:18-cv-00491.
   6
    This Court recently concluded that Super Interconnect, was “on all fours with the facts in
   SEVEN,” and therefore applied SEVEN’s holding. 2019 WL 3717683, at *2 Google respectfully
   disagrees with that holding for the same reasons it disagrees with the holding in SEVEN.

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   SEVEN, finding it “appropriate to allow the issue to percolate in the district courts,” In re Google

   LLC, No. 2018-152, 2018 WL 5536478, at *3 (Fed. Cir. Oct. 29, 2018), Chief Judge Lynn in the

   Northern District has since agreed with Personal Audio that servers at a third-party’s data center

   are not a “regular and established place of business.” CUPP, 2019 WL 1070869, at *2-3; see also

   Ex. A, BMC, No. 1:17-cv-1074, Dkt. 55 at 5-6 (E.D. Va. Dec. 21, 2017) (“rent[ing] a server rack

   from a third party” does not establish a “place of the defendant”). Google respectfully submits that

   the majority position is the correct one.

                          a.      GGC Servers Are Not Places of Business and None Are Still
                                  Operating in This District.

          GGC servers are just one part of a tiered network of computer infrastructure that allows

   Google to quickly and reliably deliver content. The core of this network is Google’s data centers,

   which provide computation and backend storage. Ex. W, ¶ 3. There are a handful of Google data

   centers in the U.S.—none in Texas. Id. The next tier of Google’s network infrastructure is known

   as “Edge Points of Presence” (“PoPs”), which connect Google’s network to the rest of the Internet.

   Id. ¶ 4. Google has no PoPs in this District. Id.

          The last tier of the network consists of the GGC servers or “edge nodes.” Id. ¶ 5. Local

   Internet Service Providers (“ISPs”) host GGC servers at the ISPs’ own facilities. Id. ¶ 6. If an ISP

   chooses to host a GGC server, portions of certain digital content that is popular with the ISP’s

   subscribers can be temporarily “cached” on that GGC server, relieving the ISP of the need to use

   medium or long-haul network capacity to fetch the content from outside its network. Id. GGC

   servers are not necessary for the delivery of Google content to users. Id. at ¶ 5.

          GGC servers are not computers made by Google; rather, they are off-the-shelf computers

   made by third-party manufacturers and typically shipped directly to ISPs by third parties. Id. ¶ 9.

   After receiving the GGC servers, the ISP unpacks, locates, installs, and hosts them in its own



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   “business conducted” by servers “involves electronic communications, which the Federal Circuit

   specifically stated cannot constitute a place.” CUPP, 2019 WL 1070869, at *3.

          The facts here bear out these general principles. Google and ISPs enter Service

   Agreements, not leases, for the maintenance of GGC servers at facilities the ISPs own. Ex. W, ¶¶

   10, 12. In these Service Agreements, ISPs agree to provide rack space, power, network interfaces,

   and IP addresses for the servers, as well as remote assistance and installation services. Id. ¶ 12.

   The agreements therefore concern the provision of services by the ISPs, not real estate, and they

   do not give Google any control over physical space. Indeed, the agreements expressly put the ISPs

   in control of physical access to the equipment. Id. The only time at which the agreements authorize

   Google employees to enter the ISPs’ premises is if the agreements are terminated. Id.

          Even if the GGC servers could be said to take up some amount of physical space, they are

   not “places of business” under Cray. Servers are pieces of equipment—like slot machines or

   vending machines—not places where employees conduct business—such as an office, storefront

   or factory. See HomeBingo Network, Inc. v. Chayevsky, 428 F. Supp. 2d 1232, 1250 (S.D. Ala.

   2006); Magee v. Coca-Cola Refreshments USA, Inc., 833 F.3d 530, 534 (5th Cir. 2016).8 “The

   servers themselves are not places from which [Google] conducts its business.” CUPP, 2019 WL

   1070869, at *3. That is particularly true given that the servers simply cache and transfer electronic

   data. See Ex. W, ¶ 6. The venue statute “cannot be read to refer merely to a virtual space or to

   electronic communications from one person to another.” Cray, 871 F.3d at 1362.9



   8
     The requirement that business must be carried out by employees or agents of the defendant
   present at the place of business is confirmed by the patent service statute, which “presumes that a
   defendant with a ‘place of business’ in a district will also have ‘agents conducting such business’
   in that district.” Peerless Network, Inc. v. Blitz Telecom Consulting, LLC, No. 17-CV-1725
   (JPO), 2018 WL 1478047, at *4 (S.D.N.Y. Mar. 26, 2018) (quoting 28 U.S.C. § 1694).
   9
     SEVEN concluded that control exercised by Google established that the physical presence of
   GGC servers were more than “merely” a virtual space or electronic communications. 315 F.


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          The SEVEN decision likened Google’s GGC servers to warehouses. 315 F. Supp. 3d at

   948. But unlike GGC servers, a warehouse is real property staffed by employees of the business.

   With respect for the Court’s prior decision, Google submits a closer (though by no means perfect)

   analogy for a GGC server, which temporarily “caches” popular content for users, is a storage

   locker. But courts have found storage lockers do not qualify as places of business. See Regents of

   Univ. of Minn. v. Gilead Scis., Inc., 299 F. Supp. 3d 1034, 1043 (D. Minn. 2017); CDx Diagnostic,

   Inc. v. U.S. Endoscopy Grp., Inc., No. 13-CV-5669(NSR), 2018 WL 2388534, at *3 (S.D.N.Y.

   May 24, 2018). Moreover, servers, unlike warehouses and storage lockers, do not store physical

   objects; they share electronic data, precisely what Cray held was insufficient under § 1400(b).10

   GGC servers are neither physical places nor places of business under Cray.

                         c.      GGC Servers Are Not “Regular and Established.”

          Even if GGC servers located on third-party ISPs’ server racks could meet Cray’s first

   requirement of a “physical place of business,” that place of business must be “regular and

   established.” Cray, 871 F.3d at 1360. A regularly operating business means one that “operates in

   a steady, uniform, orderly, and methodical manner,” while an “established” place means “settled

   certainly, or fixed permanently.” Id. at 1362-63. But here, GGC servers simply store or “cache”



   Supp. 3d at 951. Google respectfully submits that the level of control discussed in SEVEN is not
   borne out by the Service Agreements and that, in any event, a server fundamentally facilitates
   electronic communications in connection with a virtual space. While electronic communications
   and virtual spaces necessarily require physical hardware, that does not make physical hardware
   “physical places of business.” Id. at 950. Moreover, the fact remains that Google has no access to
   the physical space where the servers are stored. Ex. W, ¶ 12.
   10
      Nor does the fact that Congress made clear that ATMs are not regular and established places
   of business demonstrate that servers are. Cf. SEVEN, 315 F. Supp. 3d at 962-64. Rather,
   Congress addressed the question presented to it by industry lobbyists seeking clarity as to
   particular pieces of machinery. In any event, a bank’s branded ATM, which requires leasing or
   owning specific real property to serve customers visiting that physical location is a far cry from
   an anonymous server in an ISP’s data center that is only accessed remotely via electronic
   communications.


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   popular digital content on a temporary basis, and cannot operate independently of a Google data

   center located outside the District. Ex. W, ¶¶ 5-6. Google content may move through GGC servers,

   but Google does not “regularly” conduct business from server racks in third-party facilities. See

   Peerless, 2018 WL 1478047, at *3-4 (finding “equipment … involved in processing calls” stored

   on a shelf at a third-party facility was not a “regular and established place of business”).

             Nor are the GGC servers “established” within Cray’s meaning. The ISPs are contractually

   authorized to move the GGC servers to different locations with Google’s consent, which highlights

   the impermanent nature of the GGC servers’ placement. Ex. W, ¶ 11. Moreover, the contract can

   be terminated “at any time” for the convenience of either party. Id. ¶ 12. In fact, the handful of

   GGC servers that were previously active in this District ceased serving content to users shortly

   after Uniloc filed the November Complaints. The fact that personal property designed to

   temporarily hold electronic data is stored on the shelf of a third party under an agreement that can

   be terminated by either party at will is insufficient to establish that Google has a “permanently

   fixed” “place” in this District. Cray, 871 F.3d at 1363.

                           d.      The ISP Facilities Are Not a “Place of” Google.

             To satisfy Cray’s third requirement—“that ‘the regular and established place of business’

   must be ‘the place of the defendant’”—the “defendant must establish or ratify the place of

   business” in question. Cray, 871 F.3d at 1363. “Relevant considerations include whether the

   defendant owns or leases the place, or exercises other attributes of possession or control over the

   place.” Id. To begin, GGC servers are not places; they are things. ISPs install, store, and maintain

   them. Ex. W, ¶¶ 9, 12. No Google employee ever even saw the GGC servers in question. Id. ¶ 10.

   The servers were shipped by a third-party to the ISP, who set them up, determined where to place

   them, and then supplied power, network interfaces, and IP addresses to the servers. Id. ¶¶ 9, 12.

   Indeed,                                                                                  underscores


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   that the ISPs, not Google, control the places where the servers are deployed. See Ex. X, 73:21-

   74:16; Ex. AA.

          As for the only places possibly at issue in connection with the GGC servers—the real estate

   where they sat—Google neither owns nor leases the ISP facilities. The ISPs agree to “provide”

   “rack space” for the equipment, which is located “in the Host’s” facilities—physical property

   locations owned or leased by the ISP. Ex. W, ¶ 12 (emphasis added). For an ISP merely to provide

   rack space for equipment—at a place of the ISP’s choosing—does not give Google a “lease” or

   control over the space in which the servers sit. In fact, Google does not even have physical access

   to—much less control over—the rooms holding the racks and servers. The racks are in the host’s

   facilities and Google does not have a key. Id. The contract only grants Google access if the

   agreement is terminated and the ISP fails to deliver the servers to Google. Id. Only then, may

   Google enter any premises housing such equipment during normal working hours. Id.

          Other “[p]otentially relevant inquiries” in determining whether a location is a “place of

   business” of the defendant “include whether the defendant lists the alleged place of business on a

   website, or in a telephone or other directory; or places its name on a sign associated with or on the

   building itself.” Cray, 871 F.3d at 1363-64. Google has done none of those things. There is no

   Google “sign” or other indication on any ISP’s facility containing GGC servers in the District that

   the facility is a place of business of Google.11 Finally, courts may consider “the nature and activity



   11
      Both SEVEN and Uniloc’s complaint point to Google Maps, noting ISPs deploy GGC servers
   in their networks in certain metro areas in this District, suggesting that this ratifies the ISP’s
   location as Google’s place of business. See SEVEN, 315 F. Supp. 3d at 966, n.51; Compl. ¶ 22.
   But as Google’s website explains, GGC servers are deployed by third-party network operators
   and ISPs, not Google. See https://peering.google.com/#/infrastructure (compare with Google’s
   language regarding Data Centers that Google “operates”). Rather than associating itself with a
   specific place of business, such as an ISP, this web page refers generally to the scope of its
   network infrastructure. In fact, the places identified on Google’s website are not even the
   locations of the ISPs, but rather the airports closest to the servers.


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   of the alleged place of business . . . in comparison with that of other places of business of the

   defendant in other venues.” Cray, 871 F.3d at 1364 (emphasis in original). GGC servers are

   located in many judicial districts, while the GGC servers in this District constituted a fraction of

   one percent of the total serving capacity of Google’s network in the U.S. and were drained without

   interruption to the delivery of content to users. Ex. W, ¶¶ 7, 13. In contrast, Google facilities, such

   as its offices and data centers, are found in far fewer locations, and none are in the District. Id. ¶

   3; Ex. C, ¶¶ 3-5. GGC servers are not a sufficient basis for venue under Cray.

                  2.      Uniloc’s Remaining Venue Allegations Fare No Better in Locating a
                          “Regular and Established Place of Business” in This District.

          Uniloc attempts to supplement its GGC server allegations with a variety of Google services

   and relationships (including past relationships) that it claims establish a “regular and established

   place of business” in this District. None passes the Cray test.

                          a.      Google Fi and Google Voice

          Uniloc 2017 points to Google’s “wireless phone services called Google Fi” that Google

   provides to its customers “for cities such as Tyler and Marshall, TX.” Compl. at 10 (¶ 34). But

   Google Fi is a Mobile Virtual Network Operator (“MVNO”), a cellular service provider that

   contracts to resell services from a cellular carrier’s network (AT&T, T-Mobile, Verizon or Sprint).

   Google Fi is not a “physical place” of business, such as “a building or a part of a building,” but is

   instead a service provided to Google users. Google Fi relies on cellular towers of other companies

   to transmit data; Google does not own any cell towers in this District. 12 Ex. CC, ¶ 4; see also Ex.

   DD, §§ 1.22                  , 1.72                               2.1                             11.1



   12
     Moreover, as Personal Audio recognized, holding that “every single AT&T tower” is “a place
   of business for AT&T” would “distort the scope of the statute.” 280 F. Supp. 3d at 934.
   Regardless of the role Google plays in routing traffic through the towers and other equipment of
   carriers, that third-party property is not Google’s regular and established place of business.


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                  ; Ex. EE, §§ 1                                                                        2.4

                                     Google has no exclusive rights to use the cell towers. Ex. CC, ¶¶

   4-5. And Google has no say as to where the towers are located or how they are operated. Id. Thus,

   the Google Fi service fails at each step of the Cray test. It consists of the transmission of “electronic

   communications,” not a “physical place” of business. Cray, 871 F.3d at 1362-63. Because Google

   neither owns the cell towers, nor has any say over where they are located or how they are operated,

   the towers cannot be a “regular and established” place of business for Google. Id.

           As for Google Voice, Uniloc 2017 simply alleges that Google provides “telephone services

   to residents in this District” through the service by allowing selection of local numbers. Compl. at

   25 (¶ 64). This says nothing of a physical place of business, that is regular and established, and/or

   ratified by Google. Providing digital telecommunications services to residents within a district,

   such as internet or telephone services, from a place outside the district does not qualify as a regular

   and established place of business. See Cray, 817 F.3d at 1362.

                           b.      Third-Party “Megaport” Facilities and GCI

           Uniloc 2017 points to another company, Megaport, facilitating the provision of two Google

   Cloud platform services to users. Those services, Google Cloud Interconnect (“GCI”) and Direct

   Peering, allow direct or very fast access to the Google Cloud network and Google servers. Ex. FF,

   ¶¶ 3, 8. Uniloc 2017 alleges that “Google equipment at Megaport’s facilities which provide the

   GCI and Direct Peering Services” are “fixed geographical locations”; “regular and established”

   because they operate in a “steady, uniform, orderly and methodical manner”; and “of the

   defendant” because Google holds contractual and/or property rights to use the space and maintain

   equipment. Compl. at 17 (¶ 48). The facts are otherwise.

           First and foremost, Megaport is not Google—it is a different company. Second, there is

   no “Google equipment at Megaport’s facilities,” as Uniloc 2017 asserts. Megaport acts as an


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   intermediary between Google and other companies using GCI and Direct Peering services. Ex. FF,

   ¶¶ 6, 8. Companies can run a fiber line directly into the facilities of intermediaries like Megaport.

   Id. The intermediary then transfers data between the company and Google PoPs, described above,

   that are located outside of this District. Id. ¶¶ 4-5. Google does not own any portion of Megaport

   or own or lease any of Megaport’s facilities. Id. ¶ 9.13 Nor does Google provide any equipment to

   Megaport, or maintain or locate any of its equipment at Megaport to facilitate Megaport’s

   connectivity capabilities. Id. Google has no presence in, or connection with Megaport that would

   establish a “regular and established” place of business of Google.14

                          c.      Repair Centers

           Uniloc 2017 alleges that Google Pixel phone owners can bring or mail broken devices to

   repair centers operated by uBreakiFix and Cynergy. Compl. at 18-20 (¶¶ 50-54). Google does not

   own an interest in or manage uBreakiFix or Cynergy, which are independent, third-party

   companies. As for Cynergy, Uniloc 2017 points to a facility in Grapevine, Texas (Compl. at 19-

   20 (¶ 54)), which is located in the Northern District. uBreakiFix does not exclusively repair Google

   products; it is a national repair service for many phone manufacturers, including Apple and

   Samsung. See https://www.ubreakifix.com/company/about. Google does not own or operate any

   repair facility in the District, nor do any Google employees perform the repairs carried out at such

   a facility.

           The fact that Google directs device owners to another separate, independent business for

   repair services does not establish that repair center locations are Google’s place of business. Cf.


   13
      Megaport also does not own any facilities in the District, but rather has a relationship with
   another company— CyrusOne—that does. Ex. FF, ¶ 10. Google has no more connection to
   CyrusOne than to Megaport. Id. ¶ 11.
   14
      Indeed, in the personal jurisdiction context, forum contacts of one company cannot be imputed
   to another. See Rush v. Savchuk, 444 U.S. 320, 332 (1980). If contacts of a third party do not
   suffice for personal jurisdiction, they a fortiori do not for venue. See Cray, 871 F.3d at 1361.

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   Cray, 871 F.3d at 1363 (“it must be [the] place of the defendant … not solely a place of the

   defendant’s employee”); AGIS Software Dev., LLC v. ZTE Corp., No. 2:17-CV-00517-JRG, 2018

   WL 4854023, at *3–4 (E.D. Tex. Sept. 28, 2018) (contracting for support from a dedicated call

   center operated year-round by a separate entity insufficient to establish venue).

                           d.      Other Google Services

           Uniloc 2017 points to various nationwide services as evidence of venue in this District,

   including Google Maps functionality; G-Suite services and Google Software-as-a-Service

   applications available through Google Cloud; and Waze’s collection of traffic data. Compl. at 20-

   21 (¶ 55), 23-25 (¶¶ 61-62, 63), 26 (¶ 65), and 29 (¶ 12). These allegations amount to Google

   offering online services and collecting data via applications used by consumers nationwide,

   including within the District, but that does not make an application a Google place of business.

   See SEVEN, 315 F. Supp. 3d at 951 n.26 (idea that “every handheld device sold by Verizon would

   become a place of business for Verizon” is “clearly … too far afield from the statutory text”).

           The same goes for Google Express. See Compl. at 21-23 (¶¶ 58-59). Google Express is a

   service that connects online users to popular retail stores to order the retailers’ goods. Ex. GG, ¶

   4. Shoppers in this District can use Google Express, but Google has no employees, factories,

   warehouses, storage facilities or delivery fleets in the District to operate the service. Id. ¶ 5. Absent

   any physical property—real or personal—in the District, Google Express is not a regular and

   established place of business under Cray.

                           e.      Operations Outside the District and Pre-Suit

           Uniloc 2017 also includes allegations regarding Google’s “Presence in the State,”

   irrespective of district. Compl. at 27-29 (¶¶ 1-12). For example, Uniloc 2017 identifies Google

   Fiber services provided in Austin and San Antonio. Id. at 28 (¶ 8). Google has also provided the

   State of Texas with aerial imagery and has digitized collections of books from public libraries,


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   including at the University of Texas, Austin. Id. at 29 (¶¶ 10, 11). Again, there is no connection to

   this District and none that supports a “regular and established place of business” in this District.

          Similarly, Uniloc 2017 points to office space and real estate that either are outside of this

   District or were closed by Google years before the complaints were filed. Uniloc 2017 points to

   land purchased in Midlothian, Texas, Google offices in Austin, Texas, and an investment in a wind

   farm project in Oldham County, Texas. Id. at 27-28 (¶¶ 2, 4-5, 9). But all of these properties are

   located outside the District. Activities outside the District have no bearing on whether Google

   should be subject to venue within the District. And while Uniloc 2017 alleges Google leased office

   space in Frisco, Texas from 2012 to 2013 (Id. at 23 (¶ 60)), “[c]ourts determine venue under §

   1400(b) by the facts and situation as of the date the suit is filed.” Godo Kaisha IP Bridge 1 v. Intel

   Corp., No. 2:17-CV-00676-RWS-RSP, 2018 WL 5728524, at *2 (E.D. Tex. Aug. 29, 2018). The

   canceled office lease in this District years before the November Complaints is irrelevant.

          Finally, Uniloc 2017 alleges that since 2007, Google has employed “hundreds” of

   employees in Texas. See Compl. at 27-28 (¶¶ 3, 6). This vague allegation, even if true, is

   insufficient to show that Google has a regular and established place of business within the Eastern

   District of Texas. And Uniloc 2017 does not present any evidence suggesting otherwise.

          In sum, Google does not have any “place of business” this District, much less one that

   qualifies as “regular and established” under the standards the Federal Circuit set forth in Cray.

          B.      Uniloc Cannot Establish a Nexus Between Alleged Acts of Infringement and
                  Google’s Purported “Regular and Established Place of Business.”

          Beyond showing that a defendant has a regular and established place of business, courts

   have also required plaintiffs to identify a relationship between that place and the alleged acts of

   infringement. See Scaramucci v. FMC Corp., 258 F. Supp. 598, 602 (W.D. Okla. 1966); see also

   Jeffrey Galion, Inc. v. Joy Mfg. Co., 323 F. Supp. 261, 266-67 (N.D. W. Va. 1971). While SEVEN



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   concluded otherwise, that requirement is consistent with statutory history of the patent venue

   statute, see Cray, 871 F.3d at 1361 (§ 1400(b)’s predecessor passed to ensure “[j]urisdiction would

   not be conferred by ‘[i]solated instances of infringement’ but ‘only where a permanent agency is

   established’”), but essential if the “regular and established place of business” prong is interpreted

   so broadly as to confer venue in any District a defendant’s equipment is found or services used.

          Uniloc’s fusillade of complaints illustrates this perfectly. As shown in the chart below, of

   the 14 patents asserted and technologies accused in the November complaints, none is related to

   any more than two of Uniloc’s questionable venue allegations, most are related only to the most

   questionable of those allegations (e.g., web-based services accessible in the District or third-party

   facilities), and half of the venue allegations are unrelated to any case:

                                                                                                Services
                          Google   Google                                  Texas
                 GGC                         Repair     Google   Google             G-Suite    (imaging;
                           Fi /    Cloud /                                  Real
                Servers                      centers    Maps     Express            Services     books;
                          Voice    Peering                                 Estate
      Patent                                                                                     Fiber)
    6,473,114    NO        NO       NO        NO         NO       NO        NO         ?         NO
    6,952,450     ?        NO       NO        NO         NO       NO        NO        NO         NO
    6,836,654    NO        NO       NO         ?         NO       NO        NO        NO         NO
    6,285,892    NO        NO        ?        NO         NO       NO        NO        NO         NO
    7,016,676    NO        NO       NO        NO         NO       NO        NO        NO         NO
    6,349,154    NO        NO       NO         ?         NO       NO        NO        NO         NO
    6,329,934     ?        NO        ?        NO         NO       NO        NO        NO         NO
    6,980,522    NO        NO        ?        NO         NO       NO        NO        NO         NO
    8,194,632     ?        NO       NO         ?         NO       NO        NO        NO         NO
    6,519,005    NO        NO        ?        NO         NO       NO        NO        NO         NO
    6,452,515    NO        NO        ?        NO         NO       NO        NO        NO         NO
    8,407,609     ?        NO       NO        NO         NO       NO        NO        NO         NO
    9,141,489    NO        NO        ?        NO         NO       NO        NO        NO         NO
    8,949,954    NO        NO       NO         ?         NO       NO        NO        NO         NO

          Absent a nexus requirement, basing venue on a presence as attenuated as those alleged here

   “could essentially reestablish nationwide venue, in conflict with TC Heartland, by standing for the

   proposition that owning and controlling computer hardware involved in some aspect of company

   business (e.g., transmitting data) alone is sufficient,” In re Google LLC, 914 F.3d 1377, 1381 (Fed.




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   Cir. 2019) (Reyna, J., dissenting from denial of petition for rehearing en banc), regardless of

   whether the asserted patent has anything to do with that computer hardware.

          C.       Uniloc Insufficiently Alleged an Act of Infringement in This District.

          In Case No. 2:18-cv-00491 (“491-case”), Uniloc does not plausibly allege acts of

   infringement in this judicial district, and thus fails to meet its burden of demonstrating proper

   venue. In re ZTE (USA) Inc., 890 F.3d at 1013.

          Although Uniloc generically alleges in Paragraph 7 of the complaints that Google has

   “committed acts of direct and indirect infringement in the Eastern District of Texas,” this allegation

   is conclusory, lacks support and is a mere recitation of the statutory requirements to establish

   venue. Compare Compl. ¶ 7, with 28 U.S.C. § 1400(b) & 35 U.S.C. § 271. Uniloc has not

   plausibly alleged direct infringement in this District in the 491-case.

          Further, Uniloc fails to plausibly allege that Google induced or contributed to infringement

   in the Eastern District of Texas in the 491-case. The complaint does not allege pre-suit knowledge

   of the asserted patents or the alleged infringement. Because such knowledge is necessary for both

   induced and contributory infringement, Uniloc has not plausibly alleged any indirect infringement

   at the time the complaints were filed in the 491-case

          Uniloc’s complaint in the 491-case also makes bare allegations of indirect infringement

   that offer boilerplate language in support. See 491-case Compl. ¶¶ 95-96. Uniloc’s indirect

   infringement allegations cite to Google webpages that generally describe Hangouts and Hangouts

   Meet. Id. ¶ 95. Uniloc alleges these webpages serve as evidence that Google “directly and/or

   indirectly intentionally instructs its customers to infringe through training videos, demonstrations,

   brochures, installation and/or user guides.” Id. But Uniloc does not allege how Google’s

   customers use the accused devices to directly infringe the asserted patents, let alone in this District.




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   VI.    ALTERNATIVELY, THIS ACTION SHOULD BE TRANSFERRED TO THE
          NORTHERN DISTRICT OF CALIFORNIA

          Where venue is improper, as it is here, the district court “shall dismiss, or if it be in the

   interest of justice, transfer such a case to any district or division in which it could have been

   brought.” 28 U.S.C. § 1406(a). Should the Court determine that it is in the interest of justice to

   transfer these cases for lack of venue rather than dismissing them, Google requests that the Court

   transfer the cases to the Northern District of California “because ‘witnesses, evidence, the

   underlying events, and [the defendant] are based there.’” See Moran v. Smith, No. 5:15-cv-1121-

   DAE, 2016 WL 4033268, at *2 (W.D. Tex. July 27, 2016) (citation omitted). As detailed in

   Google’s motions to transfer under 28 U.S.C. § 1404(a), transfer to the Northern District of

   California is appropriate. Specifically, (1) the case could have been brought there, as Google’s

   Mountain View, California headquarters is a “regular and established place of business;” (2) the

   relevant evidence and witnesses are centered in California, including potentially relevant

   employees; and (3) the lawsuits implicate “the work and reputation” of Google and its employees

   in the community, which gives the Northern District of California a unique interest. In re

   Hoffmann-La Roche Inc., 587 F.3d 1333, 1336 (Fed. Cir. 2009).

                                             CONCLUSION

          For these reasons, the Court should dismiss this action for lack of subject matter jurisdiction

   or for improper venue, or transfer it to the Northern District of California.

   Date: October 18, 2019                        Respectfully submitted:

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                                     CERTIFICATE OF SERVICE

   I hereby certify that all counsel of record who have consented to electronic service are being
   served with a copy of this document via electronic mail on October 18, 2019.

                                                         /s/ Michael E. Jones

                      CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

           I certify that the foregoing document is authorized to be filed under seal pursuant to the
   Protective Order entered in this case.
                                                         /s/ Michael E. Jones


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